 

 

Case 2:21-cr-00399 Document1 Filed on 04/22/21 in TXSD Page I.0f2 Courts
Southern District of Texas

UNITED STATES DISTRICT COURT APR 22 2021 |
“SOUTHERN DISTRICT OF TEXAS © °° Nathan Ochsner, Clerk of Court

 

 

.. CRIMINAL COMPLAINT.
“Jonathan Betancourt

|, the undersigned complainant state that the following is true and correct to the best of my

 

knowledge and belief. On or about April 21,2021 in Kenedy County, in the
(Date)
Southern District of Texas, defendant, Jonathan Betancourt
)

did knowingly or in a reckless disregard of the fact that an alien had come to, entered, or remained in the United
States j in Violation of law, transport, or move or attempt to transport or move such alien within the United States by

  
 
 

 

 

 

Continued on the attached sheet and made a part of this complaint:

nature of Complainant

 

Submitted by reliable electronic means, sworn to, signature Stephanie Caligiuri
attested telephonically per Fed.R.Crim.P.4.1, and probable cause Printed Name of Complainant

found on the:

April 22, 2021 at Corpus Christi, Texas
Date City and State

   
   
 

JASON B. LIBBY U.S. Magistrate Judge

Name and Title of Judicial Officer Signature of Judicial Officer

 
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officers > paripan in in the investigation.

FACTS/DETAILS:

On April 21, 2021, at approximately 4:15 a.m., a white Chevrolet Silverado with three visible
occupants arrived for an immigration inspection at the United States Border Patrol Checkpoint
near Sarita, Texas. The agent on primary asked the driver, later identified as Jonathan
BETANCOURT if he was a United States citizen and BETANCOURT confirmed that he was,
The agent asked the front seat passenger, later identified as Abner Rene ALVAREZ-Duarte if he
was a United States citizen and he replied he was. The agent addressed the backseat passenger,
later identified as Darwin Donaldo ESCAMILLA-Linares, his place of birth, and ESCAMILLA
replied “Brownsville, Texas”. At this point, the agent noticed a fourth subject i in the back seat of

the vehicle and asked BETANCOURT to roll down the back window so the agent could speak

   

The agent referred the vehicle to secondary for further immigration inspection. Upon arriving in
the secondary inspection area, the driver and front passenger were removed from the vehicle and
escorted into the checkpoint. Once inside the checkpoint, the passenger confessed to being a
citizen of Guatemala illegally present in the United States. At this point, the driver and front
passenger were placed under arrest. The two remaining passengers also admitted to also being
citizens of Guatemala illegally present in the United States and were also placed under arrest.

MIRANDA RIGHTS WARNING:

Subjects were read their rights in their preferred language and signed accordingly that they
understood their rights. BETANCOURT and ALVAREZ stated they were willing to provide a
statement without a lawyer present.

PRINCIPAL STATEMENT: (Jonathan BETANCOURT)

Jonathan BETANCOURT stated he picked up the three subjects in his vehicle earlier in the night
and claimed one of the subjects was working for him. BETANCOURT stated he did not know all

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ibjects’ hes ‘Was: ‘transporting ir in’ ‘his vehicle® were’ not’ legally ‘present inthe United Statés”

When BETANCOURT was asked about a previous smugeling case from when he was a

juvenile: BETANCOURT stated: it ‘was ‘not ‘him: BETANCOURT ceased answering ‘the:agent’s -
questic hs at t this point. After: age

 

 

if they le Resor
walk, he would give them ¢ a bigger fish than him. BETANCOURT stated at least he would give

them from three to eighty more subjects illegally present in the United States if the agents let him

walk. It should be noted both agents in the interview room heard BETANCOURT make these
statements.

MATERIAL WITNESS STATEMENT: (Abner Rene ALVAREZ-Duarte)

Abner Rene ALVAREZ-Duarte agreed to give a statement. However, when agents began a

sworn video interview with him, ALVAREZ decided he wanted a lawyer present. Agents
immediately terminated the interview.

 

 

‘Border Patrol Caligiuri |

Submitted by reliable electronic means, sworn to, signature

 
 

Jag agit
Fnited States Magistrate fldge

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